CSSEEZDSIEYSES OorURE OH APPFags FOR Date TiermD47gRe0aT

No. 25-1575

Atlas Data Privacy Corporation, etal. yg, AccuZip, Inc., et al.

ENTRY OF APPEARANCE

Please list the names of all parties represented, using additional sheet(s) if necessary:

AccuZip, Inc.

Indicate the party’s role IN THIS COURT (check only one):
Petitioner(s) v Appellant(s) Intervenor(s)
Respondent(s) Appellee(s) Amicus Curiae

(Type or Print) Counsel’s Name Kory Ann Ferro

{| Mr |W] Ms. |_| Mrs. |_| Miss [| Mx.

Firm Greenspoon Marder LLP

Address 1037 Raymond Blvd., Suite 900

City, State, Zip Code Newark, NJ 07102

Phone (732) 456-8734 or 8746 Fax (732) 957-2314

Primary E-Mail Address (required) koryann.ferro@gmlaw.com

Additional E-Mail Address (1) melody.langley@gmlaw.com
Additional E-Mail Address (2)
Additional E-Mail Address (3)

If your organization has created a common or general email address for purposes of receiving
ECF notices, that common email address MUST be one of the listed additional email addresses.
Notices generated from the Court’s ECF system will be sent to both the primary e-mail and additional
e-mail addresses. You are limited to 3 additional e-mail addresses.

SIGNATURE OF COUNSEL: /S/ Kory Ann Ferro

COUNSEL WHO FAIL TO FILE AN ENTRY OF APPEARANCE WILL NOT BE ENTITLED TO RECEIVE
NOTICES OR COPIES OF DOCUMENTS INCLUDING BRIEFS AND APPENDICES. ONLY
ATTORNEYS WHO ARE MEMBERS OF THIS COURT’S BAR OR WHO HAVE SUBMITTED A
PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney

Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REY. 10/20/2020
